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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 10 of 154 Page ID #:1624
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 12 of 154 Page ID #:1626
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 15 of 154 Page ID #:1629
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 22 of 154 Page ID #:1636
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 24 of 154 Page ID #:1638
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 28 of 154 Page ID #:1642
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 29 of 154 Page ID #:1643
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 31 of 154 Page ID #:1645
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 32 of 154 Page ID #:1646
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    This is a substitute document representing an Electronic Ticket

    Posting Date 17-May-19
    Sequence Number 091916502514
    Amount 12000.00
    Account Number: 0911
    Date Request Received 06-Nov-19




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 42 of 154 Page ID #:1656
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 43 of 154 Page ID #:1657
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    06-Nov-19

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    This is a substitute document representing a CASH IN TICKET

    Posting Date 18-Jun-19

    Sequence number 009290027747

    Amount 2500.00

    Account Number 0911

    Date Request Received 06-Nov-19




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 54 of 154 Page ID #:1668

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    This is a substitute document representing a CASH IN TICKET

    Posting Date 24-Jun-19

    Sequence number 001080468706

    Amount 2000.00

    Account Number 0911

    Date Request Received 06-Nov-19




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 57 of 154 Page ID #:1671
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 58 of 154 Page ID #:1672
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 59 of 154 Page ID #:1673
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 60 of 154 Page ID #:1674

    06-Nov-19

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    This is a substitute document representing a CASH IN TICKET

    Posting Date 03-Jul-19

    Sequence number 009270066396

    Amount 6000.00

    Account Number 0911

    Date Request Received 06-Nov-19




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    06-Nov-19

    06Nov19-539

    This is a substitute document representing a CASH IN TICKET

    Posting Date 16-Jul-19

    Sequence number 002290478959

    Amount 1300.00

    Account Number 0911

    Date Request Received 06-Nov-19




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 65 of 154 Page ID #:1679
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 69 of 154 Page ID #:1683
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 70 of 154 Page ID #:1684
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 83 of 154 Page ID #:1697
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 85 of 154 Page ID #:1699




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 87 of 154 Page ID #:1701




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 88 of 154 Page ID #:1702




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 89 of 154 Page ID #:1703
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 91 of 154 Page ID #:1705
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 93 of 154 Page ID #:1707
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 95 of 154 Page ID #:1709




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 96 of 154 Page ID #:1710
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 98 of 154 Page ID #:1712




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 99 of 154 Page ID #:1713




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 102 of 154 Page ID #:1716
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 103 of 154 Page ID #:1717




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 105 of 154 Page ID #:1719
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 107 of 154 Page ID #:1721




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 110 of 154 Page ID #:1724
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 111 of 154 Page ID #:1725




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 112 of 154 Page ID #:1726




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 113 of 154 Page ID #:1727




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 114 of 154 Page ID #:1728
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 117 of 154 Page ID #:1731




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 118 of 154 Page ID #:1732
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 119 of 154 Page ID #:1733




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 120 of 154 Page ID #:1734




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 121 of 154 Page ID #:1735
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 122 of 154 Page ID #:1736




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 123 of 154 Page ID #:1737




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 124 of 154 Page ID #:1738
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 130 of 154 Page ID #:1744




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 131 of 154 Page ID #:1745
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 133 of 154 Page ID #:1747
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 135 of 154 Page ID #:1749
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 136 of 154 Page ID #:1750




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 137 of 154 Page ID #:1751
Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 138 of 154 Page ID #:1752




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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 139 of 154 Page ID #:1753
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 142 of 154 Page ID #:1756
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Case 8:19-cr-00061-JVS Document 78-1 Filed 01/14/20 Page 145 of 154 Page ID #:1759
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